             IN THE UNITED STATED DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                    Civil Action No. 1:21-cv-00666

TAMMY MCCRAE-COLEY,                  )
                                     )
                        Plaintiff,   )
                                     )
       v.                            )
                                     )
STARTER HOME PROGRAMS INC.           )
Dba RENTTOOWNHOMEFINDER.COM, )
                                     )
STARTER HOME INVESTING INC.          )
Dba RENTTOOWNHOMEFINDER.COM, )
                                     )
STARTER HOME PROGRAMS INC.           )
Dba LENDING CLOUD HOMES,             )
                                     )
STARTER HOME INVESTING INC.          )
Dba LENDING CLOUD HOMES,             )
                                     )         JOINT RULE 26(f) REPORT
NATIONS INFO CORPORATION             )
Dba CREDITREVIEW.CO,                 )
                                     )
NATIONS INFO CORPORATION             )
Dba YOURSCOREANDMORE.COM,            )
                                     )
GET RENT TO OWN CORP.                )
Dba YOURRENT2OWN.COM,                )
                                     )
XANADU MARKETING, INC.               )
individually (Assumed Name APEX PAGE )
BUILDER), and dba                    )
CLOUDBASEDPERSONALLOANS.COM )
and XANADUTRACKING.COM               )
                                     )
INSURANCE-REVIEWED.COM               )
                                     )
                        Defendants.  )
                                     )




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        1.     Pursuant to Fed. R. Civ. P. 26(f) and LR16.1(b), a meeting was held June 7,

2022 via telephone conference and was attended by Plaintiff Tammy McCrae-Coley, Mr.

Edward Winkler, for Defendants Starter Home Programs, Inc. and Starter Home Investing,

Inc., and William M. Butler and Sean M. Sullivan, for Defendants Nations Info Corp. and

Get Rent To Own Corp.

        2.     Discovery Plan. The parties propose to the Court the following discovery

plan:

               a.       The “commencement date” of discovery shall be upon the entry of the

        Initial Pretrial Order.

               b.       Discovery will be needed on the following subjects:

                     i. Whether Defendants called or sent text messages to Plaintiff’s

                        cellphone number, and the number of such messages;

                     ii. Whether Defendants alleged messages constitute telemarketing;

                    iii. Whether Plaintiff gave Defendants prior express consent or prior

                        express written consent;

                    iv. Whether Plaintiff actively pursued or invited the messages at issue;

                     v. Whether Defendants violated the TCPA, including whether they used

                        an automatic telephone dialing system;

                    vi. Whether Defendants violated N.C. Gen. Stat. §§ 75-102, et seq., N.C.

                        Gen. Stat. §§ 75-1.1, et seq., or N.C. Gen. Stat. § 66-261; and

                    vii. Whether Plaintiff is entitled to damages and the extent of such

                        damages.

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             c.      Discovery shall be placed on a case-management track established in

      LR 26.1. The parties agree that the appropriate plan for this case is that designated

      in LR 26.1(a) as: Standard.

             d.      The parties will serve disclosures required by Rule 26(a)(1)(A) within

      two weeks of entry of the Initial Pretrial Order.

             e.      The date for the completion of all discovery (general and expert) is:

      four (4) months after entry of the Initial Pretrial Order.

             f.      Reports required by Rule 26(a)(2)(B) and disclosures required by

      Rule 26(a)(2)(C) are due during the discovery period:

                  i. From Plaintiff(s) two (2) months after entry of the Initial Pretrial

                     Order.

                  ii. From Defendant(s) three (3) months after entry of the Initial Pretrial

                     Order.

             g.      Supplementations will be as provided in Rule 26(e) or as otherwise

      ordered by the court.

      3.     Preliminary Deposition Schedule. Preliminarily, the parties agree to the

following schedule for depositions:

             Defendants’ Deposition of Plaintiff:         July 27, 2022

             Plaintiff reserves the right to take depositions, but has not yet determined the

      persons or parties whom she will depose or the dates of such depositions.

      The parties will update this schedule at reasonable intervals.



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       4.     Other items. At this time, the parties do not anticipate amending any

pleadings. The parties have discussed special procedures for managing this case, including

reference of the case to a Magistrate Judge on consent of the parties under 28 U.S.C.

§§636(c), or appointment of a master. At this time, the parties do not contemplate any

special procedures for managing this case. Trial of the action is expected to take

approximately 3-4 days. A jury trial has been demanded. The parties discussed whether the

case will involve the possibility of confidential or sealed documents. The case may involve

confidential or sealed documents, and the parties will separately submit proposed

protective order pursuant to LR 26.2.




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      This 16th day of June, 2022.


/s/ William M. Butler
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William M. Butler (N.C. Bar No. 49116)
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                            CERTIFICATE OF SERVICE

       The undersigned hereby certifies that the foregoing document was filed
electronically on June 16, 2022. Notice of this filing will be sent by operation of the
Court’s electronic filing system to all parties indicated on the electronic filing receipt,
including the counsel of record for the co-defendants indicated below. It has also been
mailed via First Class U.S. Mail to the pro se plaintiff at the below physical addresses.

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                           Pro se Plaintiff

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                           Home Investing, Inc., Xanadu Marketing, Inc., and Insurance
                           Reviewed.com

                                                  /s/ William M. Butler
                                                  William M. Butler




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